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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

                                       §
                                       §
     AMIE M. ROGERS                    §
         Plaintiff                     §
                                       §    CASE NO. 6:18-CV-00620-JDK-KNM
     vs.                               §
                                       §
     CMRE FINANCIAL SERVICES, INC.     §
          Defendant                    §
                                       §
                                       §
                                       §
                    ORDER SETTING SCHEDULING CONFERENCE

           The above-style case has been assigned to the undersigned. As such, the Court orders

 the parties to appear for a scheduling/status conference on February 13, 2019, 2019 at 10:00

 a.m. In addition, the parties are to submit an up-to-date Docket Control Order and Discovery

 Order taken from the undersigned’s website no later than 9:00 a.m. ten days prior to the

 above date.1       The parties shall also submit an agreed order related to the discovery and

 production of electronically stored information (ESI), and a Protective Order.2 If the parties

 cannot agree to the terms of the Discovery Order, Docket Control Order, and any issues related

 to ESI and/or Protective Order, the parties may submit their disputes by the deadline outlined

 above.3




 1
   Consent to the undersigned will be discussed at the scheduling conference. Counsel is encouraged to discuss
 consent with their clients prior to the scheduling conference. The parties may refer to the Court’s website for a
 consent form. If all parties execute the consent form and submit it and the above-referenced documents by the
 date outlined above, the parties will not be required to attend the scheduling/status conference.
 2
   The parties may refer to the Court’s website for a sample protective order.
 3
   In the event that the parties do not believe issues regarding ESI or protective orders will arise, the parties need not
 submit such documents, but shall notify the Court that such orders will not be necessary.
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        The following dates shall be incorporated into the Docket Control Order:


                Dispositive Motion                September 17, 2019;
                Deadline

                Pre-Trial Conference              January 14, 2020 at 9:00 a.m. before Judge K.
                                                  Nicole Mitchell;

                Jury Selection                    January 21, 2020 at 9:00 a.m. before Judge
                                                  Jeremy D. Kernodle;

                Jury Trial                        January 21, 2020 at 9:00 a.m. before Judge
                                                  Jeremy D. Kernodle;


        In addition, if Plaintiff intends to file additional related cases, it shall file a notice indicating

 as such by the same deadline.

        The Court further ORDERS as follows:

    1. Unrepresented parties are bound by the requirements imposed upon counsel in this order.

    2. Counsel must file with the clerk within fifteen days from receipt of this order a certificate
       listing all persons, associations of persons, firms, partnerships, corporations, affiliates,
       parent corporations, or other entities that are financially interested in the outcome of this
       litigation. If a group can be specified by a general description, individual listing is not
       necessary. Underline the name of each corporation whose securities are publicly traded. If
       new parties are added or if additional persons or entities that are financially interested in
       the outcome of the litigation are identified at any time during the pendency of this litigation,
       then each counsel must promptly file an amended certificate with the clerk.

    3. Absent agreement, depositions of witnesses will not be taken until after the scheduling
       conference. Following the conference, the Court will enter a Docket Control Order and
       Discovery Order establishing parameters of discovery and setting deadlines controlling
       disposition of the case.

    4. The use of fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue
       Shield, 112 F.3d 869 (7th Cir. 1997). Notice is given that the Court will enter an order
       dismissing all fictitious parties, if any, following the Scheduling Conference. Dismissal is
       without prejudice to take advantage of the provisions of Federal Rule of Civil Procedure
       15(c).

    5. Plaintiff’s counsel must immediately notify the Court upon settlement.



                                                     2
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   6.   Failure to comply with this order invites sanctions, including, as appropriate, dismissal of
        the action or default judgment and assessment of fees and costs. See Fed. R. Civ. P. 16(f).




             So ORDERED and SIGNED this 10th day of January, 2019.




                                                 3
